Case: 1:22-cv-00204-MRB-SKB Doc #: 34-4 Filed: 01/25/23 Page: 1 of 1 PAGEID #: 443




   From: Microsoft Outlook
   <MicrosoftExchange329e71ec88ae4615bbc36ab6ce41109e@sdtlawyers.onmicrosoft.com>
   Sent: Tuesday, January 24, 2023 9:19 AM
   To: Nate Rose
   Subject: Relayed: RE: Video - Document 20-1; 1:22-cv-00204 Decastro v. Wagner



   Delivery to these recipients or groups is complete, but no delivery notification
   was sent by the destination server:

   jamalaskan@gmajl com (jamalaskan@gmajl.com)

   Subject: RE: Video - Document 20-1; 1:22-cv-00204 Decastro v. Wagner




                                                                                   Exhibit D
